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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 TRUSTEES OF GREEN STREET MONTHLY                          :
 MEETING OF FRIENDS                                        :
 45 West School House Lane                                 :
 Philadelphia, PA 19144,                                   :
                                                           :
 Plaintiff,                                                :
                                                           : CIVIL ACTION
               v.                                          :
                                                           :
 CITIZENS BANK, N.A.                                       : No. __________
 One Citizens Plaza                                        :
 Providence, RI 02903                                      :
                                                           :
 Defendant.                                                :

                                              COMPLAINT

        Plaintiff Trustees of Green Street Monthly Meeting of Friends (“Green Street Meeting”),

for its Complaint against Defendant Citizens Bank, N.A. (“Citizens Bank”), states as follows:

        1.          This action arises out of Citizens Bank’s breach of a commercial lease (the

“Lease”) of an office building and premises at 5500-06 Germantown Avenue, Philadelphia (the

“Premises”), owned by Green Street Meeting. Citizens Bank operates a retail bank business at

the Premises, which serves the Germantown, Philadelphia neighborhood and community.

Citizens Bank, together with its predecessors, has leased the Premises and provided retail

banking to the Germantown community for 50 years.

        2.          As a consequence of Citizens Bank’s breach, Green Street Meeting has sustained

damages in excess of $1,000,000.

                                             THE PARTIES

        3.          Green Street Meeting is a Quaker congregation and charitable institution

organized under Pennsylvania law and located in Philadelphia’s Germantown neighborhood at

45 West School House Lane, Philadelphia, PA. Green Street Meeting operates Greene Street
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Friends School, a K-8 school that is adjacent to the Premises that has served the Germantown

community since 1855. Green Street Meeting owns the Premises and leased it to Citizens Bank

under the Lease.

        4.      Citizens Bank is, on information and belief, a national bank incorporated in the

State of Rhode Island with its main office or principal place of business in Providence, Rhode

Island. According to its website, Citizens Bank is the 13th largest retail bank in the United States.

Citizens Bank or a corporate predecessor, Citizens Bank of Pennsylvania, has been the lessee

under the Lease since approximately December 1, 2001.

                                   JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a) because the amount in controversy exceeds $75,000, exclusive of interests and costs,

and the controversy is between parties that are citizens of different states.

        6.      This Court has personal jurisdiction over Citizens Bank because it regularly

conducts business in this Commonwealth.

        7.      Venue is proper in this Court under 28 U.S.C. § 1391 because Citizens Bank

resides in this district for purposes of venue, the cause of action arose in this district, a

transaction or occurrence from which the cause of action arose occurred in this district, and the

real property at issue is located in this district.

                                                 FACTS

        8.      The Premises is located in the heart of Germantown, at 5500-06 Germantown

Avenue, Philadelphia, Pennsylvania.

        9.      For approximately 50 years, the Premises has been operated as a retail bank,

serving the Germantown community.




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       10.      On or as of December 1, 1971, Girard Trust Bank entered into the Lease with the

then record owner of the Premises, Nancy Realty Company, and occupied the Premises as tenant.

Mellon Bank, N.A. later succeeded Girard Trust Bank as tenant and, on or as of December 1,

2001, assigned the Lease to Citizens Bank of Pennsylvania. A copy of the Lease, with the

Assignment and Assumption of Leases, is attached as Exhibit 1. In approximately 2019, Citizens

Bank of Pennsylvania was merged into Citizens Bank, the present Defendant, which succeeded

to the Lease.

       11.      Green Street Meeting acquired the Premises and succeeded to the Lease as

landlord in 2008.

       12.      The Lease is of a type known in the commercial real estate profession as a “net

lease,” i.e., a compact under which the lessee, in consideration of a favorable base rent, takes on

responsibility for all expense of the Premises, as discussed below in greater detail.

       13.      Pursuant to the Lease, Citizens Bank agreed to pay monthly rent and maintain and

repair the Premises. Because the obligation to maintain and repair is all-encompassing, the Lease

provides for an annual rent that would otherwise be below market rate. Specifically, with respect

to maintenance and repair, Citizens Bank expressly agreed as follows:

                [A]t its sole cost and expense, [Citizens Bank] shall take good care
                of the demised Premises and shall keep the same in good order and
                condition, and make all necessary repair thereto, interior and
                exterior, structural and non-structural, ordinary and extra-ordinary
                or radical, foreseen and unforeseen. When used in this Article 7,
                the term “repairs” shall include all necessary replacements,
                renewals and alterations.

(Lease § 7.01.)

       14.      Citizens Bank also agreed to keep and maintain the Premises’ fixtures in good and

usable condition, making all necessary repairs and replacements. Specifically, Citizens Bank

agreed in this regard as follows:


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               Section 4.02. All fixtures, machinery and equipment necessary for
               the general operation of the Demised Premises (not specifically as
               a bank) shall, throughout the term of this Lease, be the property of
               the Lessor and none of the same shall be removed from the
               Demised Premises, excepting for purposes of repair or replacement
               with similar or other equipment or other arrangement equally
               suitable for continuance of such operation of the Demised
               Premises. Lessee shall keep and maintain such fixtures, machinery
               and equipment at all times throughout the term of this Lease in
               good and usable condition with all necessary replacements thereof,
               sufficient for the general operation of the Demised Premises and
               shall deliver the same in such condition to Lessor as additional rent
               at termination of Lessee’s tenancy hereunder.

(Lease § 4.02.)

       15.     In further recognition of this all-encompassing responsibility to maintain the

Premises, the base rent under the Lease is not subject to any escalation. That is, because of its

maintenance obligations, Citizen Bank (and its predecessors under the Lease) have enjoyed the

same below market base rent for fifty years.

       16.     Under the Lease, Citizens Bank also agreed, at its sole cost and expense, to

promptly remedy any and all code or safety violations. Specifically, Citizens Bank agreed as

follows:

               COMPLIANCE WITH LAWS, ORDINANCES AND
               REGULATIONS

               Section 8.01. Throughout the term of this Lease, Lessee, at its sole
               cost and expense, shall promptly remove any violation and shall
               promptly comply with all present and future laws, ordinances,
               orders, rules, regulations and requirements of all federal, state, and
               municipal governments, courts, departments, commissions, boards
               any national or local Insurance Rating Bureau, or any other body
               exercising functions similar to those of any of the foregoing,
               radical, foreseen or unforeseen, ordinary as well as extra ordinary,
               which may be applicable to the Demised Premises, or any part
               thereof, or the sidewalks, curbs, vaults, passageways, alleys,
               entrances, coverings or rooflike structures placed upon or
               extending over any sidewalk or any space adjacent thereto, or to


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               the use or manner of use of the Demised Premises, or any part
               thereof, or the owners, lessees or occupants thereof, whether or not
               any such law, ordinance, order, rule, regulation or requirement
               shall necessitate radical structural changes, additions, or
               improvements, or the removal of any structure, encroachment or
               projections, ornamental or structural, onto or over the streets
               adjacent to the Demised Premises, or onto or over property
               contiguous or adjacent thereto, and whether or not the correction or
               removal so necessitated shall have been foreseen or unforeseen or
               whether the same shall involve radical or extraordinary
               construction or other disposition.

(Lease § 8.01.)

       17.     Over the years of its occupancy and enjoyment of the use of the Premises,

Citizens Bank has failed, among other things, to replace, renew, or alter elements of the Premises

that broke down or wore out over the course of their useful lives, as it promised to do, and has

generally failed to protect and maintain the Premises as required by the Lease.

       18.     Among other things, the Premises urgently requires the following repairs,

replacements, and maintenance: roof, elevators, floor tiling, electrical system, portions of the

HVAC system, and lead paint abatement.

       19.     Green Street Meeting has provided Citizens Bank with detailed descriptions of

repairs, replacements, and maintenance items that require attention, and requested that Citizens

Bank arrange to have these repairs and maintenance items addressed, but Citizens Bank has

declined or ignored the requests.

       20.     By letter dated June 15, 2021, Green Street Meeting provided Citizens Bank with

a formal Notice of Default and requested that Citizens Bank remedy the defaults. A copy of the

Notice of Default is attached as Exhibit 2.

       21.     Citizens Bank refused.




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        22.    Citizens Bank has now informed Green Street Meeting that it will close its

Germantown branch and vacate the Premises at the end of the current Lease term in November

2021.

        23.    After enjoying below market rent for decades, depleting the useful life of many of

the Premises’ interior and exterior systems and structures, and generally running Green Street

Meeting’s Premises into the ground, Citizens Bank intends simply to pull up stakes, turn its back,

and leave without making the contractually required repairs, replacements, and alterations;

leaving Green Street Meeting with a dilapidated building, all in violation Citizens Bank’s duties

under the Lease.

        24.    The Lease also obligates Citizens Bank, at Green Street Meeting’s request, to

remove a broad range of materials and fixtures from the Premises, including, but not limited to

banking and tellers’ screens, signs and plaques, vault, vault doors, lining and screens, money

safes, alarms and other protective devices, and night and drive-in depositories and “repair, at its

sole cost, any damages resulting therefrom.” (Lease § 4.03.)

        25.    Citizens Bank’s election to leave the Premises triggered Citizens Banks’

obligation to remove its trade fixtures and to repair any damage resulting from such removal, all

of which has to be done prior to Citizens Bank’s planned departure in November 2021. Green

Street Meeting has demanded that it do so, but Citizens Bank has yet to do so or to provide

adequate assurances that it will do so.

        26.    Citizens Bank also agreed, expressly in the Lease, to pay Green Street Meeting’s

reasonable attorneys’ fees and costs should Green Street Meeting incur any such fees and

expenses in connection with enforcing the Lease. (Lease § 6.02.)

                                             COUNT I

        27.    Green Street Meeting incorporates the averments of the preceding paragraphs.


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